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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JOSEPH SCHWARTZ, et al.,                           Case No. 20-cv-02044-SK
                                   8                    Plaintiffs,
                                                                                            JUDGMENT
                                   9             v.

                                  10     NICHOLAS FINN, et al.,
                                  11                    Defendants.

                                  12          IT IS HEREBY ADJUDGED that Defendants’ motion to dismiss is GRANTED, as
Northern District of California
 United States District Court




                                  13   described in this Court’s order dated today. This constitutes a final judgment under Federal Rule

                                  14   of Civil Procedure 58. The Clerk of Court is directed to close the file.

                                  15          IT IS SO ORDERED AND ADJUDGED.

                                  16   Dated: January 26, 2021

                                  17                                                    ______________________________________
                                                                                        SALLIE KIM
                                  18                                                    United States Magistrate Judge
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